       Case 18-50840                Doc 7           Filed 09/22/18 Entered 09/23/18 00:54:50                            Desc Imaged
                                                    Certificate of Notice Page 1 of 4

Information to identify the case:
Debtor 1              Edward H Rodeffer                                                 Social Security number or ITIN           xxx−xx−7088
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Linda S Rodeffer                                                  Social Security number or ITIN           xxx−xx−4205
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Western District of Virginia
                                                                                        Date case filed for chapter 7 9/20/18
Case number:          18−50840


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Edward H Rodeffer                                   Linda S Rodeffer

2.      All other names used in the
        last 8 years

3.     Address                               50 Gosling Circle, Apt 104                             50 Gosling Circle, Apt 104
                                             Fishersville, VA 22939                                 Fishersville, VA 22939

4.     Debtor's attorney                     Jeffrey A Ward                                         Contact phone (540) 946−4408
                                             Franklin Denney Ward & Dryer PLC
       Name and address                      P. O. Box 1140
                                             Waynesboro, VA 22980

5.     Bankruptcy trustee                    George I Vogel(74)                                     Contact phone (540) 982−1220
                                             PO Box 18188
       Name and address                      Roanoke, VA 24014
                                                                                                               For more information, see page 2 >
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Debtor Edward H Rodeffer and Linda S Rodeffer                                                                               Case number 18−50840


6. Bankruptcy clerk's office                      116 N. Main St., Room 223                                   Hours open 8 a.m. − 4:30 p.m.
                                                  Harrisonburg, VA 22802
    Documents in this case may be filed at this                                                               Contact phone (540) 434−8327
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                            Date: 9/20/18


7. Meeting of creditors                           October 23, 2018 at 10:00 AM                                Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              cr mtg, STN, Gen. Dist.
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            Courtroom, 1st Flr, 113 E.
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                     Beverley St., Staunton, VA 24401

                                                          *** Valid photo identification required ***


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 12/24/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2
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                                      United States Bankruptcy Court
                                      Western District of Virginia
In re:                                                                                  Case No. 18-50840-rbc
Edward H Rodeffer                                                                       Chapter 7
Linda S Rodeffer
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0423-5           User: admin                  Page 1 of 2                   Date Rcvd: Sep 20, 2018
                               Form ID: 309A                Total Noticed: 61

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 22, 2018.
db/jdb         +Edward H Rodeffer,    Linda S Rodeffer,     50 Gosling Circle, Apt 104,
                 Fishersville, VA 22939-2416
tr             +George I Vogel(74),    PO Box 18188,     Roanoke, VA 24014-0815
4646679        +AR Resources Inc,    PO Box 1056,    Blue Bell, Pennsylvania 19422-0287
4646680        +Augusta Dental Health,     41 S Medical Park Drive,     Fishersville, Virginia 22939-2333
4646682         Augusta Health Care Inc,     PO Box 79847,    Baltimore, Maryland 21279-0847
4646683        +Augusta Medical Group,     PO Box 388,    Fishersville, Virginia 22939-0388
4646684        +Blue Ridge Radiologists,     401 Commerce Rd Suite 413,     Staunton, Virginia 24401-4433
4646685        +Bullhead Investments LLC,     1311 Westbrook Plaza Drive,     Winston-Salem, NC 27103-1327
4646686        +CAF,    2040 Thalbro Street,    Richmond, Virginia 23230-3200
4646694       ++COMCAST,    676 ISLAND POND RD,    MANCHESTER NH 03109-4840
               (address filed with court: Comcast,       2303 N Augusta Street Suite D,
                 Staunton, Virginia 24401)
4646690        +CarMax,    1448 Richmond Road,    Charlottesville, Virginia 22911-3509
4646691        +CarMax Auto Finance,     PO Box 440609,    Kennesaw, Georgia 30160-9511
4646689        +Carilion Clinic,    PO Box 13966,    Roanoke, Virginia 24038-3966
4646688        +Carilion Clinic,    PO Box 824579,     Philadelphia, Pennsylvania 19182-4579
4646693        +City of Waynesboro Treas Office,     503 West Main Street Room 105,
                 Waynesboro, Virginia 22980-4546
4646695        +Comcast,    PO Box 3001,    Southeastern, Pennsylvania 19398-3001
4646696        +Comcast Cable Communications,     PO Box 3001,    Southeastern, Pennsylvania 19398-3001
4646700       ++DOMINION VIRGINIA POWER,     PO BOX 26666,    18TH FLOOR,    RICHMOND VA 23261-6666
               (address filed with court: Dominion Virginia Power,        PO Box 26543,
                 Richmond, Virginia 23290-0001)
4646701       ++EYEONE PLC,    17 N MEDICAL PARK DR,     FISHERSVILLE VA 22939-2344
               (address filed with court: EyeOne and Retinacare of Virginia,        17 N Medical Park Drive,
                 Fishersville, Virginia 22939)
4646702        +Goose Creek Apartments,     80 Goose Point Lane,    Fishersville, VA 22939-2382
4646703        +Henrico General District Court,     4301 East Parham Road,     Henrico, Virginia 23228-2745
4646704        +Home Depot Credit Services,     PO Box 790034,    St Louis, Missouri 63179-0034
4646710        +Medical Data Systems,     128 W Center Avenue 2nd Floor,     Sebring, Florida 33870-3103
4646711         Medical Revenue Services,     PO Box 1149,    Sebring, Florida 33871-1149
4646713        +Mr. Cooper,    8950 Cypress Waters Blvd,     Coppell, Texas 75019-4620
4646712        +Mr. Cooper,    PO Box 650783,    Dallas, TX 75265-0783
4646714        +Mr. Cooper Bankruptcy Dept,     PO Box 619094,    Dallas, TX 75261-9094
4646716        +PayPal Credit,    PO Box 5138,    Timonium, Maryland 21094-5138
4646717        +PayPal Credit,    PO Box 5018,    Timonium, Maryland 21094-5018
4646718        #Penn Credit Corporation,     PO Box 988,    Harrisburg, Pennsylvania 17108-0988
4646719        +Progressive Management Systems,     PO Box 2220,    West Covina, California 91793-2220
4646720         Richmond General District Court,     400 N 9th Street Room 203,     Richmond, Virginia 23219-1546
4646724         UVA Health System,    PO Box 800780,     Charlottesville, Virginia 22908-0780
4646725        +UVA Health Systems,    PO Box 743977,     Atlanta, Georgia 30374-3977
4646723        +United Consumers Inc,     PO Box 4466,    Woodbridge, VA 22194-4466
4646726        +Valley Credit Service,     PO Box 7090,    Charlottesville, Virginia 22906-7090
4646728         Virginia Dept of Tax Bankruptcy Dept,      PO Box 2156,    Richmond, Virginia 23218-2156
4646730        +Virginia Dept of Taxation,     PO Box 27407,    Richmond, Virginia 23261-7407
4646731        +Waynesboro Circuit Court,     PO Box 910,    Waynesboro, Virginia 22980-1281
4646732        +Waynesboro Com of Revenue,     503 W Main Street Room 107,     Waynesboro, Virginia 22980-4546
4646733        +Waynesboro Gen Dist Court,     250 S Wayne Avenue Suite 100,     Waynesboro, Virginia 22980-4625
4646734        +Waynesboro Utilities,     503 W Main Street # 103,    Waynesboro, VA 22980-4546
4646735        +Waypoint,    PO Box 8588,    Round Rock, TX 78683-8588
4646736        +Willis Family Dentistry,     41 S. Medical Park Drive,     Fishersville, VA 22939-2333

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: ksmith@fdwdlaw.com Sep 20 2018 22:08:20      Jeffrey A Ward,
                 Franklin Denney Ward & Dryer PLC,    P. O. Box 1140,   Waynesboro, VA 22980
ust            +E-mail/Text: ustpregion04.rn.ecf@usdoj.gov Sep 20 2018 22:08:31       USTrustee,
                 Office of the United States Trustee,    210 First Street, Suite 505,    Roanoke, VA 24011-1620
4646681        +E-mail/Text: L2SHOWALTER@AUGUSTAHEALTH.COM Sep 20 2018 22:08:29       Augusta Health,
                 PO Box 1000,   Fishersville, Virginia 22939-1000
4646692        +EDI: WFNNB.COM Sep 21 2018 01:48:00      CB/Talbots,   PO Box 182789,    Columbus, OH 43218-2789
4646687        +EDI: CAPITALONE.COM Sep 21 2018 01:48:00      Capital One USA NA,   PO Box 85168,
                 Richmond, Virginia 23285-5168
4646697        +EDI: WFNNB.COM Sep 21 2018 01:48:00      Comenity - Talbots,   PO Box 659617,
                 San Antonio, Texas 78265-9617
4646698        +EDI: WFNNB.COM Sep 21 2018 01:48:00      Comenity Bank Bankruptcy Dept,    PO Box 182125,
                 Columbus, Ohio 43218-2125
4646705        +EDI: CITICORP.COM Sep 21 2018 01:48:00      Home Depot/CBNA,   PO Box 6497,
                 Sioux Falls, South Dakota 57117-6497
4646706         EDI: IRS.COM Sep 21 2018 01:48:00      Internal Revenue Service,   PO Box 7346,
                 Philadelphia, Pennsylvania 19101-7346
4646707        +EDI: CBSKOHLS.COM Sep 21 2018 01:48:00      Kohls Correspondence,   PO Box 3120,
                 Milwaukee, Wisconsin 53201-3120
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                                                Certificate of Notice Page 4 of 4



District/off: 0423-5                  User: admin                        Page 2 of 2                          Date Rcvd: Sep 20, 2018
                                      Form ID: 309A                      Total Noticed: 61


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
4646708         EDI: CBSKOHLS.COM Sep 21 2018 01:48:00      Kohls Payment Center,    PO Box 2983,
                 Milwaukee, Wisconsin 53201-2983
4646709        +EDI: CBSKOHLS.COM Sep 21 2018 01:48:00      Kohls/Capital One,    PO Box 3115,
                 Milwaukee, Wisconsin 53201-3115
4646715         EDI: RMSC.COM Sep 21 2018 01:48:00      Paypal Buyer Credit,    PO Box 960080,
                 Orlando, Florida 32896-0080
4646721         E-mail/Text: BCCCSUBANKRUPTCYEMAIL@sentara.com Sep 20 2018 22:08:52       Sentara Collections,
                 PO Box 79698,   Baltimore, Maryland 21279-0698
4646722         E-mail/Text: BCCCSUBANKRUPTCYEMAIL@sentara.com Sep 20 2018 22:08:52
                 Sentara RMH Medical Center,   2010 Health Campus Drive,     Harrisonburg, Virginia 22801-3293
4646729         E-mail/Text: bkr@taxva.com Sep 20 2018 22:08:43      Virginia Dept of Taxation,     PO Box 1880,
                 Richmond, Virginia 23218
4646727        +E-mail/Text: bankruptcy@vfinancial.net Sep 20 2018 22:08:50       Vanguard Financial Services,
                 210 Brooks Street Suite 100,    Charlston, West Virginia 25301-1848
                                                                                               TOTAL: 17

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
4646699*        ++DOMINION VIRGINIA POWER,   PO BOX 26666,   18TH FLOOR,    RICHMOND VA 23261-6666
                 (address filed with court: Dominion Virginia Power,     PO Box 26666,
                   Richmond, Virginia 23261-6666)
                                                                                               TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 22, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 20, 2018 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
